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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP, BI-             Master Docket: Misc. No. 21-mc-1230-JFC
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS
 LITIGATION                                    MDL No. 3014

 This Document Relates to:
 All Actions Asserting Claims for Medical
 Monitoring


        DECLARATION OF JASON WOLF OF WOLF GLOBAL COMPLIANCE
                 RE: MEDICAL ADVANCEMENT PROGRAM

I, Jason Wolf, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

following is true and correct:

       1.      I have personal knowledge of the matters stated in this Declaration.

       2.      I am the founder of Wolf Global Compliance, LLC (“WGC”). For over 20 years, I

have pioneered and advanced healthcare compliance in personal injury mass tort litigations. My

curriculum vitae is attached hereto as Exhibit “1” and an Overview of WGC is attached hereto as

Exhibit “2.”

       3.      WGC has subject matter expertise in advising on settlement administration and

implementing litigation solutions, specializing in healthcare lien compliance and resolution and

designing and executing medical monitoring programs. WGC’s Healthcare Compliance, Medical

Monitoring, and Administration experience include serving in many high-profile exposure and

medical device matters including World Trade Center, Deepwater Horizon, Fire Victim Trust,

National Football League, NCAA, Guidant, Medtronic, Transvaginal Mesh and Respironics

Economic Payer.



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       4.       WGC has designed and operationalized the most complex medical monitoring

solutions utilized in the physical harm mass tort settlement community. Medical monitoring

programs have many design and delivery features including compliant healthcare coordination of

benefits, exacting medical encounter parameters, screening and credentialing of provider

networks, cost containment, confidential and secure benefit delivery, program efficacy reporting,

grant submission and oversight, online resource center ensuring access, and understanding of the

benefit and relevant materials. Each program is unique in its success criteria, yet core tenets of

WGC programs include improving access to healthcare, design that promotes benefit utilization,

benefit recipient focused tools, and ensuring that quality and trustworthy healthcare is available.

       5.       I have been appointed (as part of organizations I have led) by numerous parties and

federal and state courts to serve as a Claims Administrator, Lien Resolution Administrator or

Healthcare Compliance Neutral to provide settlement services in a broad variety of national mass

tort and class action matters, including several multidistrict litigations (“MDLs”).

       6.       Below is a representative list of matters in which I have led the program design and

administration:

            •   In re World Trade Center Disaster Site Litigation, MDL Docket Nos. MC100, 102-

                03 (S.D.N.Y.), where I led the design and execution of the Healthcare Compliance

                obligations associated with claims asserted against the World Trade Center Captive

                Insurance Company, Inc. relating to the September 11th Consolidated Cases.

            •   Deepwater Horizon Litigation, MDL 2179 (E.D. La.), where I designed and

                implemented the Medical Benefits Settlement as Claims Administrator and Lien

                Resolution Administrator, designed and implemented a 21-year periodic medical




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                evaluation program that involved over 22,000 eligible class members entitled to

                claim compensation and/or medical consultation services.

            •   National Football League Players’ Concussion Injury Litigation, MDL 2323 (E.D.

                Pa.), where I designed and implemented a medical evaluation program comprised

                of a national network of medical service providers who provided baseline

                assessments of neurocognitive function and follow-up care for an estimated 17,000

                players over 10+ years.

            •   Vioxx Product Liability Litigation, MDL Docket No. 1657 (E.D. La.), where I

                served as the Lien Resolution Administrator tasked with resolving health care

                reimbursement claims (or “liens”) asserted against over 10,000 claimants by

                Centers for Medicare & Medicaid Services (“CMS”), all 53 state and territory

                Medicaid agencies; and several other governmental healthcare payers, such as the

                Veterans Affairs, TRICARE, and Indian Health Services.

       7.       I have reviewed the proposed class settlement of Medical Monitoring Claims in the

above-captioned matter, dated May 9, 2024.

       8.       I declare that I am experienced, qualified, and ready to serve as the Settlement

Administrator responsible for the provisions of Medical Advancement Program Benefits,

including MAP Research, MAP Registry, and MAP Resources to the proposed Settlement Class.

       I hereby declare under penalty of perjury that the foregoing is true and correct.

Dated: May 10, 2024

                                                             ____________________
                                                             Jason Wolf




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                EXHIBIT

                           “1”
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                                         Jason Wolf
                                 Wolf Global Compliance, LLC

Contact:
Phone:(704) 906-1122
Email: jason@wolfglobalcompliance.com
Address: 229 S. Brevard, Suite 300, Charlotte, NC 28202


SUMMARY

Jason Wolf is a distinguished professional renowned for resolving complex administrative
challenges within high-profile physical harm and emotional distress settlement programs. With
extensive experience in healthcare compliance, he has built strong partnerships with federal
(Medicare, Veterans Affairs, TRICARE, and Indian Health Services) and state healthcare
agencies, private healthcare plans, and third-party recovery contractors, facilitating fair and
efficient agreements in numerous aggregate settlements. His expertise extends to operational
design and management, particularly in pioneering medical monitoring and grant administration
within mass tort settlements.


PROFESSIONAL EXPERIENCE
Wolf Global Compliance, LLC (“WGC”)
Founder & CEO | January 2024 - Present

Founded WGC to provide specialized healthcare compliance services to the mass tort litigation
and settlement community, elevating industry standards in healthcare compliance and medical
monitoring. WGC leverages its unmatched expertise in identifying and fulfilling healthcare
repayment obligations, effectively mitigating liabilities for plaintiffs, plaintiff’s counsel, and
defense. Committed to elevating industry standards, WGC has set the benchmark in Healthcare
Compliance and Medical Monitoring.

Wolf/Garretson, LLC (“W/G”)
Healthcare Compliance Consultant | January 2022 – January 2024
Provided design and administrative oversight services in healthcare compliance for the mass tort
industry.
The Garretson Resolution Group, Inc (“GRG”)
Co-Founder & President | January 2003 – December 2018
Co-founded GRG, a leading provider of comprehensive settlement administration services in
mass tort settlements. Guided the company through two successful private equity transactions
before its acquisition by Epiq in 2019.
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Signal Interactive
Co-Founder |
Co-founded Signal Interactive Media, dedicated to enhancing class notice efficacy through
contemporary data analytics and mass media.

Legal and Healthcare Conferences

Regular speaker at legal and healthcare conferences, sharing insights and expertise with industry
professionals.



PROGRAMMATIC EXPERIENCE
Leadership Role in Administrative Design & Execution

World Trade Center Disaster Site Litigation | MDL Docket MC100, MC102 and MC103 |
United States District Court, Southern District of New York | Judge Alvin K. Hellerstein
3M Combat Arms Earplug Products Liability Litigation | MDL 2885 | United States District
Court, Northern District of Florida | Judge M. Casey Rodgers
Deepwater Horizon Litigation | MDL 2179 | United States District Court, Eastern District
Louisiana | Judge Carl A. Barbier
National Football League Players’ Concussion Injury Litigation | MDL 2323 | United States
District Court, Eastern District of Pennsylvania | Judge James A. Byrne
Zyprexa Products Liability Litigation | MDL 1596 | United States District Court, Eastern
District of New York | Judge Jack B. Weinstein
Actos Products Liability Litigation | MDL 2299 | United States District Court, Western District
of Louisiana | Judge Terry A. Doughty
Vioxx Products Liability Litigation | MDL 1657 | United States District Court, Eastern District
of Louisiana | Judge Eldon E. Fallon
Fire Victim Trust | U.S. Bankruptcy Court for the Northern District of California | Judge Dennis
Montali | Trustee, Cathy Yanni
Philips Recalled CPAP Economic Loss Settlement | MDL 3014 | United States District Court,
Western District of Pennsylvania | Judge Joy Flowers Conti


EDUCATION
Graduate Degree | Master of Arts and Sciences | Communication
Eastern Michigan University
Undergraduate Degree | Bachelor of Science | Communication
Eastern Michigan University
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PERSONAL
Brooklyn Collective CLT | January 2020 - Present

Founder & Board Member
Founded and sits on the board of the Brooklyn Collective CLT, a nonprofit promoting inclusivity
and upward mobility in the Charlotte region.
NXT CLT | January 2021 – December 2022
Board Member
Served on the board of NXT CLT, a nonprofit supporting businesses owned by people of color.

Gratitude @ Work |
Board Member
Board member of Gratitude @ Work, a nonprofit dedicated to empowering individuals who have
experienced physical or emotional trauma.
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                EXHIBIT

                           “2”
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Respironics CPAP Settlement Programs
Healthcare Compliance Neutral (HCN)




   Prepared By:

           Jason Wolf
           Wolf Global Compliance LLC
           HCN Design & Oversight
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                                                                           Wolf Global Compliance, LLC     2
                                                                                 Healthcare Compliance



OVERVIEW

Wolf Global Compliance (“WGC”) WGC has spent 20 years pioneering and advancing healthcare
compliance in personal injury mass tort litigations. WGC has subject matter expertise in advising on
settlement administration and implementing litigation solutions, specializing in healthcare lien
compliance and resolution (“resolving liens”) and designing and executing medical monitoring
programs.

WGC has worked closely with Centers for Medicare & Medicaid Services (“CMS”), state Medicaid
agencies, all other governmental healthcare payers and private health insurance providers.

WGC’s Healthcare Compliance, Medical Monitoring, and Administration experience include serving
in many high-profile exposure and medical device matters including World Trade Center, Deepwater
Horizon, Fire Victim Trust, National Football League, NCAA, Guidant, Medtronic, Transvaginal
Mesh and Respironics Economic Payer.

HEALTHCARE COMPLIANCE

WGC pioneered Healthcare Compliance standards and services for physical harm and emotion
distress mass tort litigations. WGC collaborates with parties and creates a strategic approach which
ensures compliance and delivers favourable results in terms of both time and outcomes. WGC then
engages healthcare and recovery agencies to coordinate a unified, accurate, and predictable approach
and obtain agency consent for resolution pathways. Finally, WGC oversees the processing of
Healthcare Compliance Program by developing the necessary procedures and protocols to enable the
efficient and transparent administration of the compliance requirements for all key stakeholders.

MEDICAL MONITORING

WGC has designed and operationalized the most complex medical monitoring solutions utilized in the
physical harm mass tort settlement community. Medical monitoring programs have many design and
delivery features including compliant healthcare coordination of benefits, exacting medical encounter
parameters, screening and credentialing of providers network, cost containment, confidential and
secure benefit delivery, program efficacy reporting, grant submission and oversight, online resource
center ensuring access, and understanding of the benefit and relevant materials. Each program is
unique in its success criteria, yet core tenets of WGC program include improving access to healthcare,
design that promotes benefit utilization, benefit recipient focused tools, and ensuring quality and
trustworthy healthcare is available.

ABOUT

Prior to WGC, Jason Wolf co-founded The Garretson Resolution Group (“GRG”) along with Matt
Garretson. Wolf is recognized as having solved for some of the most complex administrative issues in
high scale, high profile, and demanding settlement programs. Wolf’s role in building strong business
relationships with federal, state, and military healthcare agencies, private healthcare plans and third-
party recovery contractors. Wolf led GRG’s success in facilitating fair agreements among interested
stakeholders in 100’s of aggregate settlements. Similarly, his operational design and management
acumen were instrumental to pioneering the field of medical monitoring (programs in use today for
both the cleanup workers in BP Oil Spill and retired players in the National Football League).

Wolf is a frequent speaker at legal and healthcare organizations and conferences. Jason earned both
his undergraduate and graduate degrees from Eastern Michigan University.
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                                                            Wolf Global Compliance, LLC   3
                                                                 Healthcare Compliance



                                EXHIBIT A


                 World Trade Center Disaster Site Litigation | MDL Docket
                 MC100, MC102 and MC103 | United States District Court,
                 Southern District of New York | Judge Alvin K. Hellerstein

                 3M Combat Arms Earplug Products Liability Litigation |
                 MDL 2885 | United States District Court, Northern District of
                 Florida | Judge M. Casey Rodgers

                 Deepwater Horizon Litigation | MDL 2179 | United States
                 District Court, Eastern District Louisiana | Judge Carl A. Barbier



                 National Football League Players’ Concussion Injury
                 Litigation | MDL 2323 | United States District Court, Eastern
                 District of Pennsylvania | Judge James A. Byrne




                 Zyprexa Products Liability Litigation | MDL 1596 | United
                 States District Court, Eastern District of New York | Judge Jack
                 B. Weinstein

                 Vioxx Products Liability Litigation | MDL 1657 | United States
                 District Court, Eastern District of Louisiana | Judge Eldon E.
                 Fallon



                 Actos Products Liability Litigation | MDL 2299 | United States
                 District Court, Western District of Louisiana | Judge Terry A.
                 Doughty



                 Fire Victim Trust | U.S. Bankruptcy Court for the Northern
                 District of California | Judge Dennis Montali
